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       Exhibit M
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/Users   Dropbox   (Personal)/Clients/2016 and earlier/helix/helix.ai                   286.5 KB 2014-06-17 00:33:49 (UTC)      2020-01-16 00:37:44 (UTC)   2019-12-29 04:03:17   (UTC)    902729
/Users   Dropbox                                               Case
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/Users   Dropbox   (Personal)/Clients/2016 and earlier/helix/helix.ai                   286.5 KB 2014-06-17 00:33:49 (UTC)      2020-01-16 00:37:44 (UTC)   2019-12-29 04:03:17   (UTC)   5808503
/Users   Dropbox   (Personal)/Clients/2016 and earlier/helix/hel.png                     66 .9 KB 2014-06-17 00:30:18 (UTC)     2019-12-29 12:42:09 (UTC)   2019-12-29 04:03:17   (UTC)    902727
/Users   Dropbox   (Personal)/Clients/2016 and earlier/helix/hel.png                     66.9 KB 2014-06-17 00:30:18 (UTC)      2019-12-29 12:42:09 (UTC)   2019-12-29 04:03:17   (UTC)   3323315
/Users   Dropbox   (Personal)/Clients/2016 and earlier/helix/hel.png                     66 .9 KB 2014-06-17 00:30:18 (UTC)     2019-12-29 12:42:09 (UTC)   2019-12-29 04:03:17   (UTC)   5808501
/Users   Dropbox   (Personal)/Clients/2016 and earlier/helix/helixbroughttoyouby.png      57.1 KB 2014-06-17 00:01:04 (UTC)     2019-12-29 12:42:09 (UTC)   2019-12-29 04:03:17   (UTC)    902728
/Users   Dropbox   (Personal)/Clients/2016 and earlier/helix/helixbrou ghttoyouby.png     57.1 KB 2014-06-17 00:01:04 (UTC)     2019-12-29 12:42:09 (UTC)   2019-12-29 04:03:17   (UTC)   3323316
/Users   Dropbox   (Personal)/Clients/2016 and earlier/helix/helixbroughttoyouby.png      57.1 KB 2014-06-17 00:01:04 (UTC)     2019-12-29 12:42:09 (UTC)   2019-12-29 04:03:17   (UTC)   5808502
/Users   Dropbox   (Personal)/Clients/2016 and earlier/helix/helix.png                   57.3 KB 2014-06-16 23:58:52 (UTC)      2019-12-29 12:42:09 (UTC)   2019-12-29 04:03:17   (UTC)    902726
/Users   Dropbox   (Personal)/Clients/2016 and earlier/helix/helix.png                   57.3 KB 2014-06-16 23:58:52 (UTC)      2019-12-29 12:42:09 (UTC)   2019-12-29 04:03:17   (UTC)   3323314
/Users   Dropbox   (Personal)/Clients/2016 and earlier/helix/helix.png                   57.3 KB 2014-06-16 23:58:52 (UTC)      2019-12-29 12:42:09 (UTC)   2019-12-29 04:03:17   (UTC)   5808500
